 Case 2:13-cr-00018-JCM-GWF             Document 787         Filed 04/25/16      Page 1 of 2




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4
                                  UNITED STATES DISTRICT COURT
5
                                         DISTRICT OF NEVADA
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7
      UNITED STATES OF AMERICA,                           Case No. 2:13-cr-00018-JCM-GWF
8
                                             Plaintiff,                 ORDER
9
             v.
10
      LEON BENZER, et al.,
11
                                         Defendants.
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13          Presently before the court is defendant Charles McChesney’s motion for the district judge

14   to reconsider the final omnibus restitution order. (Doc. #739). The government filed a non-

15   opposition to the motion. (Doc. #743). Also before the court is the government’s motion to delay

16   entry of final restitution order. (Doc. #618). Defendants did not file a response and the deadline to

17   do so has passed.

18          Defendant McChesney requested the court to reconsider the finding made at sentencing

19   that Mr. McChesney pay restitution in the amount of $100,000 arising from the withdrawal of

20   $450,000 from the Vistana Home Owners Association bank account. The government filed a non-

21   opposition, and the court signed a second amended final omnibus restitution order to reflect that

22   change. Therefore, defendant McChesney’s concerns have been addressed and the court will deny

23   his motion as moot.

24          The government also requested that the court delay entry of final restitution as to Ricky

25   Anderson, Maria Limon, Jose Luis Alvarez, Rudolfo Alvarez-Rodriguez until the overall

26   restitution figure for the entire conspiracy is finalized at the sentencing of Leon Benzer. (Doc.

27   #618). Mr. Benzer has been sentenced and the restitution amounts were settled thereafter.

28   Therefore, the court also denies this motion as moot.
 Case 2:13-cr-00018-JCM-GWF           Document 787       Filed 04/25/16    Page 2 of 2




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2           Accordingly,

3           IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that defendant McChesney’s

4    motion to reconsider (Doc. #739) be, and the same hereby is, DENIED as moot.

5           IT IS FURTHER ORDERED that the government’s motion to delay entry of the final

6    restitution (Doc. #618) be, and the same hereby is, DENIED as moot.

7           DATED THIS 25th day of April 2016.

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9                                                      JAMES C. MAHAN
                                                       UNITED STATES DISTRICT JUDGE
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